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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              TEXARIZANA DIVISION

UNITED STATES OF AMERICA                      §
                                              §          NO. 5:25-CR-08
V.                                            §          JUDGES SCHROEDER/BAXTER
                                              §
WILLIAM RANDALL MAY (01)                      §
VICTORIA ELAINE SANDERS (02)                  §
DARON ANDRE PIERSON (03)                      §
  a.lea. "Dizzy"                              §

                                      INDICTMENT

THE UNITED STATES GRAND JURY CHARGES:

                                       COUNT ONE

                                           Violation: 21 U.S.C. § 846
                                           (Conspiracy to Distribute and Possess with
                                           Intent to Distribute Methamphetamine)

       Beginning in or about September 26, 2024, the exact date being unlmown to the

United States Grand Jmy, and continuing thereafter until at least the date of the return of

this indictment, in the Eastern District of Texas, the defendants, William Randall May,

Victoria Elaine Sanders, and Daren Andre Pierson, did knowingly and intentionally

combine, conspire, confederate, and agree with each other and with others, both known

and unlmown to the United States Grand Jmy, to violate a law of the United States of

America, to wit, 21 U.S.C. § 84 l (a)(l ), prohibiting the possession with intent to

distribute and distribution of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance.

        In violation of 21 U.S.C. § 846.

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                                  COUNTS TWO-THREE

                                              Violation: 21 U.S.C. § 841(a)(1) and 18 U.S.C.
                                              § 2 (Possession with Intent to Distribute and
                                              Distribution of Methamphetamine and Aiding
                                              and Abetting)

         On or about the dates listed below, in the Eastern District of Texas, the defendants

 listed below, aided and abetted by one another and others, knowingly and intentionally

 possessed with intent to distribute and distributed methamphetamine, a Schedule II

 controlled substance, in the quantity listed below:

Count          Date                Defendant(s)                            Quantity

                              William Randall May             A mixture or substance containing
          September 26,
 2                                      and                         a detectable amount of
               2024
                              Daren Andre Pierson                     methamphetamine



                              William Randall May
          November 5,                                            50 grams or more of actual
 3                                      and
               2024                                                     methamphetamine
                             Victoria Elaine Sanders



         In violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.




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                                      COUNT FOUR

                                              Violation: 18 U.S.C. § 924(c)
                                              (Use, carrying, and possession of a firearm
                                              during, in relation to, and in furtherance of a
                                              drug trafficking crime)

        On or about November 5, 2024, in the Eastern District of Texas, the defendants,

William Randall May and Victoria Elaine Sanders, did knowingly use and carry a

firearm during and in relation to, and did knowingly possess a firearm in furtherance of, a

drug trafficking crime for which they may be prosecuted in a court of the United States,

that is, possession with intent to distribute methamphetamine, in violation of 21 U.S.C. §

841(a)(1), as charged in Count Three of this indictment. The firearms were:

        1. a Winchester, model 1300 Defender, 12-gauge shotgun;

        2. a Ruger, model New Model Super Blackhawk, .44 caliber revolver;

        3. a FNH, model 509, 9mm pistol;

        4. a Ruger, model TCP Max, .380-caliber pistol; and

        5. a Ruger, model PC Charger, 9mm pistol;

        In violation of 18 U.S.C. § 924(c).

                                      COU T FIVE
                                              Violation: 18 U.S.C. § 922(g)(1)
                                              (Felon in Possession of a Firearm)

        On or about November 5, 2024, in the Eastern District of Texas, the defendant,

William R ndall May, did knowingly possess, in or affecting interstate or foreign

commerce, firearms, to wit:




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        1. a Winchester, model 1300 Defender, 12-gauge shotgun;

        2. a Ruger, model New Model Super Blackhawk, .44 caliber revolver;

        3. a FNH, model 509, 9mm pistol;

        4. a Ruger, model LCP Max, .380-caliber pistol; and

        5. a Ruger, model PC Charger, 9mm pistol;

while knowing he had been convicted of an offense punishable by a term of

imprisomuent exceeding one year, specifically:

        1. Terroristic Act, a felony, in the Circuit Court of Miller County, Arkansas, in

            cause number 46CR-14-67-1, on May 5, 2015; and

       2. Possession of Controlled Substance >200<400 Grams, a felony, in the 202nd

           District Court of Bowie County, Texas, in cause number 14F0953-202, on

           March 15, 2015.

       In violation of 18 U.S.C. § 922(g)(1).




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                                        COUNT SIX
                                            Violation: 18 U.S.C. § 932(b)(1)
                                            (Conspiracy to Make Straw Purchases of
                                            Firearms)

        From on or about February 25, 2024, and continuing up to and including the date

 of the filing of this indictment, in the Eastern District of Texas, the defendants, William

Randall May and Victoria Elaine Sanders, did knowingly combine, conspire,

confederate, and agree with each other, to purchase firearms, including but not limited to:

        1. a FNH, model 509, 9mm pistol;

        2. a Ruger, model TCP Max, .380-caliber pistol; and

        3. a Ruger, model PC Charger, 9mm pistol;

in or otherwise affecting interstate or foreign commerce for, on behalf of, or at the

request or demand of William Randall May, knowing or having reasonable cause to

believe that William Randall May had previously been convicted in any court of a crime

punishable by imprisonment for a term exceeding one year.

        In violation of 18 U.S.C. § 932(b)(1).




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              NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
         Pursuant to 18 U.S.C, § 924(d)(1), 18 U.S.C, § 932, 21 U.S.C, § 853(a), and
                                    28 U.S.C. § 2461(c)

        As the result of committing one or more of the foregoing offenses alleged in this
 indictment, the defendants herein shall forfeit to the United States, pursuant to 18 U.S.C.
 § 924(d)(1), 18 U.S.C. § 932, 21 U.S.C. § 853(a), and 28 U.S.C. § 2461(c):

         1. any properly constituting, or derived from, and proceeds the defendants
               obtained, directly or indirectly, as the result of such violations;

        2. any of the defendants property used, or intended to be used, in any manner
                or part, to commit, or to facilitate the commission of, such violations,
                and/or;

        Firearms and Ammunition:

        Any and all firearms, ammunition and accessories, including, but not limited to,
        the following:

        1. a Winchester, model 1300 Defender, 12-gauge shotgun;
        2. a Ruger, model New Model Super Blackhawk, .44 caliber revolver;
        3. a FNH, model 509, 9mm pistol;
        4. a Ruger, model LCP Max, .380-caliber pistol; and
        5. a Ruger, model PC Charger, 9mm pistol.

        Cash Proceeds:


        A sum of money equal to $5,000.00 in United States currency and all interest and
        proceeds traceable thereto, representing the amount of proceeds obtained by the
        defendants as a result of the offenses alleged in this indictment, for which the
        defendants are personally liable.

        Substitute Assets

        If any of the property described above as being subject to forfeiture, as a result of
        any act or omission of the defendants:

                (a) cannot be located upon the exercise of due diligence;
                (b) has been transferred or sold to, or deposited with a third person;
                (c) has been placed beyond the jurisdiction of the court;
                (d) has been substantially diminished in value; or


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                (e) has been commingled with other property which cannot be
                           subdivided without difficulty;

        it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek
        forfeiture of any other property of the defendants up to the value of the above
        forfeitable property, including but not limited to all property, both real and
        personal owned by the defendants.

        By virtue of the commission of the offenses alleged in this indictment, any and all

interest the defendants have in the above-described property is vested in the United States

and hereby forfeited to the United States pursuant to 18 U.S.C. § 924(d)(1), 18 U.S.C. §

932, 21 U.S.C. § 853(a), and 28 U.S.C. § 2461(c).

                                               A TRUE BILL,




Date                                           FOREPERSON OF THE GRAND JURY


ABE McGLOTHIN, JR.
ACTING UNITED STATES ATTORNEY



LAUREN RICHARDS
ASSISTANT U.S. ATTORNEY




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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

UNITED STATES OF AMERICA §
                                              § NO. 5:25-CR-
V.                                            § JUDGES SCHROEDER/BAXTER
                                              §
WILLIAM RANDALL MAY (01) §
VICTORIA ELAINE SANDERS (02) §
DARON ANDRE PIERSON (03) §
     a.k.a. Dizzy                             §

                                  NOTICE OF PENALTY

                                   COUNT ONE-THREE

        Violation:                  21 U.S.C. §§ 841(a)(1) and 846

        Penalty:                    Imprisonment for a term of not more than 20 years; a
                                    fine not to exceed $1,000,000, or both; and a term of
                                    supervised release of at least 3 years.


                                    If 5 grams or more of methamphetamine (actual) or 50
                                    grams or more of a mixture or substance containing a
                                    detectable amount of methamphetamine, imprisonment
                                    for a term of not less than 5 years or more than 40
                                    years, a fine not to exceed $5,000,000, or both; and a
                                    term of supervised release of at least 4 years.


                                    If 50 grams or more of methamphetamine (actual) or
                                    500 grams or more of a mixture or substance
                                    containing a detectable amount of methamphetamine,
                                    imprisomnent for a term of not less than 10 years or
                                    more than life; a fine not to exceed $10,000,000, or
                                    both; and a term of supervised release of at least 5
                                    years.


        Special Assessment:         $100.00 each count.



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                                COUNT FOUR

       Violation:             18 U.S.C. § 924(c) (Use, carrying, and possession of a
                              firearm during, in relation to, and in furtherance of a
                              drug trafficking crime)

       Penalty:               Imprisomnent for a term of not less than 5 years or
                              more than life, which must be served consecutively to
                              any other term of imprisonment, a fine not to exceed
                              $250,000, or both, and s pervised release of not more
                              than 5 years.


        Special Assessment:   $100.00


                                COUNT FIVE
       Violation:             18 U.S.C. § 922(g)(1) (Felon in Possession of a
                              Firearm)

       Penalty:               Imprisonment for not more than 15 years, a fine not
                              to exceed $250,000, or both, and supervised release of
                              not more than 3 years.


        Special Assessment:   $100.00


                                 COUNT SIX
       Violation:             18 U.S.C. § 932(b)(1) (Conspiracy to Make Straw
                              Purchases of Firearms)

       Penalty:               Imprisonment for not more than 15 years, a fine not
                              to exceed $250,000, or both, and supervised release of
                              not more than 3 years.


        Special Assessment:   $100.00




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